          Case 1:21-cv-03232-LKG Document 59 Filed 03/09/22 Page 1 of 3


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                  )
 BALTIMORE COUNTY BRANCH OF                       )
 THE NATIONAL ASSOCIATION FOR                     )
 THE ADVANCEMENT OF COLORED                       )
 PEOPLE, et al.,                                  )
                                                  )       Civil Action No. 21-cv-03232-LKG
         Plaintiffs,                              )
                                                  )       Dated: March 9, 2022
 v.                                               )
                                                  )
 BALTIMORE COUNTY, MARYLAND,                      )
 et al.,                                          )
                                                  )
         Defendants.                              )
                                                  )

                                               ORDER

        The parties shall participate in a telephonic status conference on Friday, March 11, 2022, at
11:00 a.m. Eastern Time. Plaintiffs are directed to FILE a status report stating their views on
whether the County’s proposed map complies with Section 2 of the Voting Rights Act by 5:00
pm on Thursday, March 10, 2022.

        The telephonic status conference will be held via AT&T Teleconferencing. The Court will
provide the parties via email with a call-in number, an access code, and a security code.
Participating on the call will be counsel of record for each party.

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  Case 1:21-cv-03232-LKG Document 59 Filed 03/09/22 Page 2 of 3


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  Case 1:21-cv-03232-LKG Document 59 Filed 03/09/22 Page 3 of 3



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IT IS SO ORDERED.



                                      s/ Lydia Kay Griggsby
                                      LYDIA KAY GRIGGSBY
                                      United States District Judge




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